            Case 2:13-cr-00330-JLR         Document 128        Filed 02/04/14     Page 1 of 2




 1

 2

 3

 4

 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,              Case No. CR13-330-JLR

10          v.                                            DETENTION ORDER

11 TIYA CHERIE HESTER,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          Defendant has significant mental health and substance abuse problems and has repeatedly

18 appeared before the Court to address allegations that she is in violation of her conditions of

19 release. Despite best efforts, defendant continues to struggle with substance abuse, compliance

20 with the terms of her release, and thus poses a danger to both herself and the public.

21 Additionally, the probation and pretrial office has concluded that they cannot adequately

22 supervise defendant any further.

23          It is therefore ORDERED:



     DETENTION ORDER - 1
            Case 2:13-cr-00330-JLR         Document 128        Filed 02/04/14      Page 2 of 2




 1          (1)    Defendant shall be detained pending trial and committed to the custody of the

 2 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 3 from persons awaiting or serving sentences, or being held in custody pending appeal;

 4          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 5 counsel;

 6          (3)    On order of a court of the United States or on request of an attorney for the

 7 Government, the person in charge of the correctional facility in which Defendant is confined

 8 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 9 connection with a court proceeding; and

10          (4)    The Clerk shall provide copies of this order to all counsel, the United States

11 Marshal, and to the United States Probation and Pretrial Services Officer.

12          DATED this 4th day of February, 2014.

13

14

15
                                                                 A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
16

17

18

19

20

21

22

23



     DETENTION ORDER - 2
